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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA                 H F1 :fl
                         WAYCROSS DIVISION

UNITED STATES OF AMERICA


                                        CASE NO. CR597-003-11
CHRISTOPHER L. GREEN, a/k/a
SHAWN GREEN

     Defendant.


                            ORDER

     Before the Court is Defendant Christopher L. Green's

Motion for Retroactive Application of Sentencing Guidelines

to Crack Cocaine Offense under 18 U.S.C. § 3582.               (Doc.

1860.)   For the following reasons, including Defendant's

failure to obtain certification to submit a second § 2255

petition from the Eleventh Circuit Court of Appeals, the

Court DENIES Defendant's Motion.'

     On December 24, 1997, this Court sentenced Defendant

to life imprisonment, which was the mandatory minimum

sentence under the United States Sentencing Guidelines

based on Defendant's criminal history category, for

conspiracy of and possession with the intent to distribute

crack cocaine.    (Doc. 1152.) Due to the mandatory minimum

sentence of life imprisonment, Defendant is not, at this


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  After careful consideration, Defendant's Motion to Appoint
Counsel (Doc. 1842) is DENIED.
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time, eligible for any reduction in sentence based on the

2007 Amendments to the United States Sentencing Guidelines,

which reduced guideline sentences for crack cocaine

offenses

     However, on October 3, 2005, the Georgia Supreme Court

overturned two state convictions used by this Court to

determine Defendant's criminal history category. See Green

v. State, 279 Ga. 687, 620 S.E.2d 788 (2005) . In addition

to requesting a reduction based on the 2007 Amendments,

Defendant's Motion asks this Court to reduce his sentence

based upon the Georgia Supreme Court's decision to overturn

these two state convictions. Removing the overturned state

convictions and recalculating Defendant's guideline

sentence could remove the mandatory minimum sentence of

life imprisonment and result in a lower guideline sentence.

However, a motion under 18 U.S.C. § 3582 is not the proper

method for seeking a reduced sentence based on overturned

state convictions.

     The appropriate means for Defendant to seek a

reduction of sentence based upon overturned state

convictions is to file a challenge to his sentence under 28

U.S.C. § 2255. Defendant previously filed a § 2255

petition for relief from his conviction and sentence in

this matter.     (See Doc. 1658) (judgment entered on § 2255


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petition.) As this Court has previously informed Defendant

(see Doc. 1750), this Court may only entertain a second or

successive habeas corpus petition from Defendant after he

receives certification from the Eleventh Circuit Court of

Appeals allowing such a petition. Under Eleventh Circuit

Rule 22-3 (a) , Defendant must file an "Application for Leave

to File a Second or Successive Habeas Corpus Petition" with

the Eleventh Circuit, using the form provided by the

Eleventh Circuit Clerk of Court, before filing a second or

successive petition in this Court. As a result, this Court

is precluded from ruling on Defendant's § 2255 Petition

until he receives the required certification from the

Eleventh Circuit.

     In summary, if Defendant wishes this Court to

recalculate his sentence due to the Georgia Supreme Court

vacating two of his state convictions, he must first file

the "Application for Leave to File a Second or Successive

Habeas Corpus Petition" with the Eleventh Circuit. After

receiving permission from the Eleventh Circuit, Defendant

may then submit a § 2255 petition to this Court. Until

Defendant follows these procedures, this Court lacks

jurisdiction to rule on any § 2255 petition from Defendant.




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    Accordingly, the Court DENIES Defendant's Motion for

Retroactive Application of Sentencing Guidelines to Crack

Cocaine Offense under 18 U.S.C. § 3582.
                      Is,
     SO ORDERED this f .- day of October, 2008.




                           AM TT MOORE, JR T HIJUDG
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA




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